       Case 1:05-cr-00112-DAD Document 113 Filed 03/02/15 Page 1 of 2


 1   HEATHER E. WILLIAMS, Bar #122664
     Federal Defender
 2   DAVID M. PORTER, Bar #127024
     Assistant Federal Defender
 3   Counsel Designated for Service
     801 I Street, 3rd Floor
 4   Sacramento, California 95814
     Telephone: (916) 498-5700
 5
     Attorney for Movant
 6   SIRILO CAMACHO ALVAREZ

 7

 8
                                    UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11
     UNITED STATES OF AMERICA,                         No. 1:05-cr-00112- AWI-3
12
                       Plaintiff,                      REQUEST TO EXTEND DEADLINE AND
13                                                     AMEND BRIEFING SCHEDULE;
            v.                                         ORDER
14
     SIRILO CAMACHO ALVAREZ,
15                                                     Judge: Honorable ANTHONY W. ISHII
                       Defendant.
16
            Pursuant to Local Rule 144, the undersigned, Assistant Federal Defender David M. Porter,
17
     hereby requests that the deadline to file a supplement to defendant’s pro se motion be extended to
18
     March 13, 2015 and that the corresponding deadlines for government response and defense reply
19
     be extended to March 20, 2015 and March 27, 2015, respectively. Government counsel has
20
     graciously indicated she has no objection.
21
     Dated: February 27, 2015
22
                                                         Respectfully submitted,
23
                                                         HEATHER E. WILLIAMS
24                                                       Federal Defender
25
                                                         /s/ David M. Porter
26                                                       DAVID M. PORTER
                                                         Assistant Federal Defender
27

28
       Case 1:05-cr-00112-DAD Document 113 Filed 03/02/15 Page 2 of 2


 1                                               ORDER
 2          Pursuant to the request, and good cause appearing therefor, it is hereby ordered that the

 3   supplement to defendant’s pro se motion may be filed on or before March 13, 2015; the

 4   government’s response to supplement shall be filed on or before March 20, 2015; and, the

 5   defendant’s reply shall be filed on or before March 27, 2015.

 6
     IT IS SO ORDERED.
 7
     Dated: March 2, 2015
 8
                                                 SENIOR DISTRICT JUDGE
 9

10

11

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28
                                                     2
